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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                                     )
                                                              )
                                   Plaintiff,                 )
                                                              )
v.                                                            )        Case No. 09-40041-06-JAR
                                                              )
                                                              )
FRANCISCO J. MARIN,                                           )
                                                              )
                                   Defendant.                 )
                                                              )

                                     MEMORANDUM AND ORDER

         Before the Court is defendant Francisco J. Marin’s Motion in Limine to Exclude Past

Drug Use (Doc. 242). At the limine hearing on Monday, October 25, 2010, the Court took this

motion under advisement in order to review case law cited by defendant at the hearing. The

Court has now reviewed the Sixth Circuit’s decision in United States v. Jenkins,1 and determines

that it is not dispositive that evidence of Marin’s drug use should be excluded in this matter.

Instead, the Court takes the motion under advisement subject to a contemporaneous ruling as set

forth below.

         In order to rule on defendant’s motion, the Court must determine: (1) whether the

evidence is intrinsic or if it must be admitted as a prior bad act under Fed. R. Evid. 404(b);2




         1
          345 F.3d 928 (6th Cir. 2003).
         2
         See United States v. Record, 873 F.2d 1363, 1372 n.5 (10th Cir. 1989) (citing United States v. Orr, 864
F.2d 1505, 1510 (10th Cir. 1988)).
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and (2) if it is being offered under Rule 404(b), whether it is admissible under that rule.3 The

Court is unable to make either finding necessary to rule on this motion until it hears further

evidence.

        The government provided a limited proffer and submitted the DEA-6 Report with its

response to the motion. This investigation report includes the following relevant information in

¶ 4:

                 During casual conversation TFO Garman learned that MARIN and
                 MIGUEL LNU consumed marijuana and methamphetamine. It was
                 obvious to TFO Garman that all present were at least aware of the
                 distribution of methamphetamine that NUNEZ was involved in if
                 not active participants themselves. During this time NUNEZ
                 stepped from the garage and spoke on his cell phone to an
                 unknown person in Spanish. TFO Garman learned through casual
                 conversation that the police had been at NUNEZ residence in the
                 recent past and had asked to search his residence and NUNEZ
                 allowed the police to search his residence because he did not keep
                 any methamphetamine at his residence. NUNEZ indicated after his
                 telephone conversation that his “friend” said that the police were at
                 that time near his friend’s residence. After approximately twenty
                 (20) to twenty-five (25) minutes TFO Garman asked to speak to
                 NUNEZ alone.

The government proffered that this casual conversation included discussion of price, purity,

quantity, and sources of methamphetamine. It also submits that the evidence is probative of the

comfort level of the individuals present at Nunez’s residence where he traffics drugs.

        The government must fill in the circumstances of the referenced twenty to twenty-five

minute conversation between Officer Garman, Nunez, Marin, and Miguel in Nunez’s detached

garage prior to the meeting that took place, outside of Marin’s presence, between Garman and



        3
          See, e.g., United States v. Mares, 441 F.3d 1152, 1156 (10th Cir. 2006) (citing Huddleston v. United
States, 485 U.S. 681, 691 (1988)).

                                                         2
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Nunez. Officer Garman will need to testify to what made it “obvious” to him that Marin was

aware of methamphetamine distribution and the conspiracy to possess with intent to distribute.

This should include testimony about the content and context of the conversation that included

Marin’s statement about prior drug use. The government must lay this foundation prior to

eliciting the statements at issue and then approach the bench for a ruling before attempting to

elicit any testimony about defendant Marin’s drug use.

       IT IS THEREFORE ORDERED BY THE COURT that defendant Francisco J.

Marin’s Motion in Limine to Exclude Past Drug Use (Doc. 242) is taken under advisement. The

Court will rule on the admissibility of defendant Marin’s statement contemporaneously after an

appropriate foundation is set forth by the government.

Dated: October 28, 2010
                                                      S/ Julie A. Robinson
                                                     JULIE A. ROBINSON
                                                     UNITED STATES DISTRICT JUDGE




                                                 3
